
OPINION OF THE COURT
Memorandum. .
The order of the Appellate Division should be affirmed, *865with costs, on the memorandum of the Appellate Division. We add only that, assuming that awareness by the police of an impending attack would be sufficient to create a special duty, the affidavit in opposition contains nothing from which such awareness can be inferred and, in any event, because it is by a person other than the one who spoke to the police, would be insufficient on that question (Zuckerman v City of New York, 49 NY2d 557, 563).
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur.
Order affirmed, with costs, in a memorandum.
